Case 2:21-cv-03254-RGK-MAR Document 30-1 Filed 07/26/21 Page 1 of 5 Page ID #:322




                         DECLARATION OF ERIC HONIG

        I, Eric Honig, declare as follows:

        1.     I am an individual over the age of 18. I am one of the attorneys of

  record for Plaintiffs in this action. I have personal knowledge of the facts set forth

  below and if called to testify I could and would do so competently.

        2.     I am lead counsel in this class action case, DOES 1-6 v. United States,

  et al, 2:21-cv-03254-RGK-MAR. This declaration is being filed in support of

  Plaintiffs’ motion for class certification, motion for return of property, and motion

  for a preliminary injunction.

        3.     Exhibit A is a true and correct copy of the Federal Bureau of

  Investigation’s May 20, 2021 “Notice of Seizure of Property and Initiation of

  Administrative Forfeiture Proceedings” regarding property seized from individual

  safe deposit boxes held at US Private Vaults ("USPV”). This Notice includes

  boxes maintained by Plaintiffs, who I presume and believe remain anonymous to

  the FBI. Plainiffs only learned of this Notice indirectly; the notice was not served

  on them or their counsel by the government.

        4.     Exhibit B is a true and correct copy of FBI Acceptance Letters for the

  administrative forfeiture claims filed by Plaintiff DOES 1 and 2, and for DOES 3,

  5 and 6.

        5.     Exhibit C is a true and correct copy of a July 23, 2021 e-mail I
Case 2:21-cv-03254-RGK-MAR Document 30-1 Filed 07/26/21 Page 2 of 5 Page ID #:323




  received from FBI Supervisory Special Agent Jessie T. Murray.

        6.     Exhibit D is a true and correct copy of a compilation of notices of

  seizures of currency from the FBI’s “Official Notification” of seizures of the

  contents of USPV safe deposit boxes that do not identify the persons who were the

  box holders. These notices were published on the defendant government’s

  forfeiture.gov website on June 7, 14, and 21, and July 6, 2021. The website

  noticed seizures only of currency, and not any personal property such as gold and

  jewelry.

        7.     Exhibit E is a true and correct copy of the FBI’s “Official

  Notification” of seizures (also only currency and no personal property) posted on

  the government’s forfeiture.gov website on June 28, 2021.

        8.     I have been practicing law continuously since 1981. I am an attorney

  at law admitted to practice before the United States District Court for the Central

  District of California, all of the Courts of the State of California and the United

  States Court of Appeals for the Ninth Circuit.

        9.     From 1981 to 1988, I served as an assistant district attorney in

  Jefferson Parish, Louisiana, prosecuting hundreds of felony cases. I was admitted

  to practice by the State Bar of California in June, 1989. I was an Assistant United

  States Attorney, Criminal Division, in the Southern District of California from

  May, 1989 to June, 1991, where I handled civil and criminal cases. I was an
Case 2:21-cv-03254-RGK-MAR Document 30-1 Filed 07/26/21 Page 3 of 5 Page ID #:324




  Assistant United States Attorney in the Central District of California from 1991 to

  1995, and Chief of the Asset Forfeiture Section of that office from 1993 to 1995.

         10.    Since early 1995, I have worked as a sole practitioner practicing civil

  litigation, primarily as plaintiffs’ counsel in class actions and defense of federal

  asset forfeiture, RICO and other quasi-criminal civil matters.

         11.    Throughout the course of my practice, I have litigated extensively in

  the California state courts and in the United States District Courts in California

  and throughout the United States. I have handled numerous appeals in the United

  States Court of Appeals for the Ninth Circuit and the California appellate courts.

         12.    I have handled numerous class action cases, with many where the

  defendant was the United States. For example, I was found to be qualified as class

  action counsel in Sueoka et al v. United States et al, CV 98-6313-MMM (RCx)

  (Central District of California). In that case, in which I served as lead counsel, the

  district held that the United States government must disgorge interest accrued on

  money seized by the government, inter alia. The district court initially denied

  class certification on the issue of numerosity, however, and thus the plaintiffs

  appealed that finding to the Ninth Circuit Court of Appeals, and the government

  cross-appealed on the issue of liability. I prepared all of the plaintiffs’ briefs on

  appeal and argued the case before the Court, which sided unanimously with the

  plaintiffs on all issues.
Case 2:21-cv-03254-RGK-MAR Document 30-1 Filed 07/26/21 Page 4 of 5 Page ID #:325




        13.    In addition, I prepared the briefs and argued at the hearing for the

  plaintiff class representatives’ appeal to the Ninth Circuit of the district court’s

  dismissal of the complaint in another class action case, Ohel Rachel Synagogue, et

  al v. United States of America, U.S.C.A. No. 04-56894.

        14.    I served as lead counsel for the Plaintiff in a class action case relating

  to civil forfeitures, Touhey v. United States, EDCV 08-1418-VAP (RCx), in which

  the Court granted final approval of a settlement with the U.S. government.

        15.    More recently, I served as lead counsel for the Plaintiff in another

  class action case relating to civil forfeitures, Innovative Nutraceuticals, LLC v.

  United States, EDCV 18-1400-JGB (SHKx), which the parties settled after the

  Court ruled on the government’s motion to dismiss.

        16.    I also was the lead trial counsel in the class action case of Higgins v.

  Starwood Hotels & Resorts Worldwide, Inc., et al., No. EDCV 05-719-VAP

  (SGLx) (Eastern District of California) that was granted preliminary and final

  approval by Hon. Judge Virginia A. Phillips.

        17.    None of the Plaintiffs in this action, nor any of their attorneys, have

  been served with a civil judicial complaint for forfeiture filed by the defendant

  United States in this District regarding the administrative claims they filed with

  the FBI, nor are Plaintiffs’ counsel aware of any such judicial forfeiture

  complaints having been filed relating to the property seized from other USPV box
Case 2:21-cv-03254-RGK-MAR Document 30-1 Filed 07/26/21 Page 5 of 5 Page ID #:326




  holders.

        I declare under penalty of perjury that the foregoing is true and correct.

  Executed on July 25, 2021 at Marina Del Rey, California.

                                  /s/ Eric Honig
                                  _____________________________
                                  ERIC HONIG
